    Case 3:21-cv-00168 Document 8 Filed on 07/08/21 in TXSD Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

SHERIFF BRAD COE in his official         )
capacity and KINNEY COUNTY,              )
TEXAS; SHERIFF J.W. GUTHRIE in           )
his official capacity and EDWARDS        )
COUNTY, TEXAS; SHERIFF                   )
EMMETT SHELTON in his official           )
Capacity and MCMULLEN COUNTY,            )
TEXAS; SHERIFF ARVIN WEST in his         )
official capacity and HUDSPETH           )
COUNTY, TEXAS; THE FEDERAL               )
POLICE FOUNDATION, ICE                   )
OFFICERS DIVISION,                       )
                                         )
        Plaintiffs,                      )
                                         )  Civil Action No.
        v.                               )  3:21-CV-00168
                                         )
JOSEPH R. BIDEN, JR., President,         )
in his official capacity; THE UNITED     )
STATES OF AMERICA; ALEJANDRO             )
MAYORKAS, Secretary of Homeland          )
Security, in his official capacity; U.S. )
DEPARTMENT OF HOMELAND                   )
SECURITY; TAE JOHNSON, Acting            )
Director of U.S. Immigration and         )
Customs Enforcement, in his official     )
Capacity; IMMIGRATION AND                )
CUSTOMS ENFORCEMENT; TROY                )
MILLER, Senior Official Performing the   )
Duties of Commissioner of U.S. Customs )
and Border Protection, in his official   )
capacity; U.S. CUSTOMS AND               )
BORDER PROTECTION,                       )
                                         )
        Defendants.                      )
________________________________________________________________________

  PLAINTIFFS’ MOTION FOR LEAVE TO FILE AFFIDAVIT UNDER SEAL


                                     1
      Case 3:21-cv-00168 Document 8 Filed on 07/08/21 in TXSD Page 2 of 4




       Plaintiff Texas sheriffs, Texas counties, and the Federal Police Foundation, ICE

Officers Division, hereby file this Motion for Leave to File Affidavit Under Seal. In

support of this Motion, Plaintiffs state the following:

       1.     Plaintiffs wish to file an affidavit from an Immigration and Customs

Enforcement (“ICE”) officer representing the Federal Police Foundation.

       2.     The information in the affidavit is likely be useful to the Court in the

adjudication of this case, because it describes the practice of ICE in implementing the

February 18 Memorandum.

       3.     The affidavit contains information that could be used to identify other ICE

officers who have provided information concerning the ICE procedures being used to

implement the February 18 Memorandum at the center of this case.

       4.     The information provided is potentially embarrassing to Defendants, as it

indicates that preapproval requests to detain certain illegal aliens have been denied, even

though the illegal aliens in question clearly presents a threat to the safety of the public.

       5.     The ICE officers in question fear that the revelation of their identity may

result in their supervising officers punishing them. Such punishment could take the form

of workplace reprimands, suspension, termination, or reassignment.

       WHEREFORE, Plaintiffs respectfully request that the Court grant Plaintiffs leave

to file the Affidavit of the Federal Police Foundation under seal, and that the Court

thereby prohibit counsel for Defendants from providing that Affidavit to anyone in the

Department of Homeland Security (DHS).



                                               2
     Case 3:21-cv-00168 Document 8 Filed on 07/08/21 in TXSD Page 3 of 4




Dated: July 8, 2021      By: s/ Kris W. Kobach
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                                        3
      Case 3:21-cv-00168 Document 8 Filed on 07/08/21 in TXSD Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that this Motion for Leave to File Affidavit Under Seal has been
served on Defendants by electronic mail to counsel for Defendants below on this 8th day
of July, 2021.

                                            /s Kris W. Kobach
                                            KRIS W. KOBACH

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                                            4
